       Case 1:03-cr-00093-HSO               Document 107     Filed 03/31/06      Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA

VS.                                                               CRIMINAL NO. 1:03cr93WJG-4

NIKIA DONYELLA BURTS


                                        FINAL JUDGMENT


        This cause is before the Court on Nikia Donyella Burts' motion for return of seized

property [100-1] pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure or

alternatively, this Court's original jurisdiction under 28 U.S.C. § 1331. Because the criminal

proceedings against Burts were concluded at the time he filed the instant motion, the Court will

treat this matter as a civil action pursuant to 28 U.S.C. § 1331, seeking the return of property.

See Clymore v. United States, 217 F.3d 370, 373 (5th Cir. 2000). Pursuant to the Memorandum

Opinion entered in this cause, this date, incorporated herein by reference, it is hereby,

        ORDERED AND ADJUDGED that Burts' motion for return of seized property [100-1]

be, and is hereby, denied. It is further,

        ORDERED AND ADJUDGED that each party bear their respective costs in connection

with this action.

        SO ORDERED AND ADJUDGED this the 30th day of March, 2006.




                                                UNITED STATES SENIOR DISTRICT JUDGE
